Filed 10/09/19                                     Case 19-21640                                              Doc 140



                                       UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF CALIFORNIA


            In re                                          )   Case No. 19-21640 - B - 11
            Debora Leigh Miller-Zuranich,                  )   Docket Control No. WW-2
            Debtor.                                        )   Document No. 118
                                                           )   Date: 10/08/2019
                                                           )   Time: 2:00 PM
                                                           )   Dept: B



                                                        Order


           Findings of fact and conclusions of law having been stated orally on
           the record and good cause appearing.

           IT IS ORDERED that the motion to convert case to a chapter 7 case
           is GRANTED. The motion to dismiss case is DENIED AS MOOT. This
           case is converted to a case under Chapter 7 of the Bankruptcy Code.


                    October 09, 2019




           [118] - Motion/Application to Dismiss Case [WW-2] Filed by Creditor OCRE Investment Fund 1 LLC
           (mfrs) [118] - Motion/Application to Reconvert Case from Chapter 11 to Chapter 7 [WW-2] Filed by
           Creditor OCRE Investment Fund 1 LLC (Fee Paid $15) (eFilingID: 6589734) (mfrs)
